                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                       CRIMINAL DOCKET NO.: 5:07CR11-V


UNITED STATES OF AMERICA            )
                                    )
            vs.                     )                        ORDER
                                    )
JAMES LEONARD MORRIS, and           )
JASON WARD NORMAN,                  )
                  Defendants.       )
___________________________________ )

       THIS MATTER is before the Court upon its own motion following issuance of an order

referring Defendant Morris for competency evaluation. (Document #52)

       At present, the trial of Defendant Morris and the only other Co-Defendant that has not

already entered a guilty plea, Jason Ward Norman, is scheduled to occur during the January 7, 2008

trial term in the Statesville Division. However, Defendant Morris cannot proceed to trial until the

question of competency is resolved by the Court. The time period between issuance of the Court’s

Order directing that Defendant Morris be evaluated and the Court’s determination as to competency

is excludable under the Speedy Trial Act. 18 U.S.C. § 3161(h)(1)(A).

       The Court further finds that Defendants' cases are "joined for trial with a co-defendant as to

whom the time for trial has not run and no motion for severance has been granted," 18 U.S.C. §

3161(h)(7), and that failure to continue this matter would result in a miscarriage of justice. 18

U.S.C. § 3161(h)(8)(B)(i).




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       Consequently, the Court finds that the ends of justice served by taking such

action as requested by the Defendant Morris outweigh the best interest of the public

and the Defendants to a speedy trial.

       IT IS, THEREFORE, ORDERED that the trial of this matter is continued

from the January 2008 term to the March 2008 term in the Statesville Division.

                                                Signed: January 4, 2008




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